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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                   Case No. 1:18-cr-166-01
 v.
                                                   HONORABLE PAUL L. MALONEY
 DANIEL DARIO TREVINO,

        Defendant.
 ____________________________/


         ORDER GRANTING MOTION IN LIMINE ON SUMMARY CHARTS

       In accordance with the Bench Opinion issued by the Court on August 15, 2019:

       IT IS HEREBY ORDERED that the Government's motion in limine on summary charts

(ECF No. 179) is GRANTED for the reasons stated on the record.

       IT IS FURTHER ORDERED that the Government’s motion for leave to file a reply brief

in support of its motion (ECF No. 211) is GRANTED.



Dated: August 16, 2019                                    /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         United States District Judge
